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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION



 UNITED STATES OF AMERICA                                      Cr. A. No. 01-30044-04

 VERSUS                                                        JUDGE ROBERT G. JAMES

 EUGENE J. THURMAN, JR.                                        MAG. JUDGE KAREN L. HAYES


                                               ORDER

        Because of the recent revision to the base offense levels for crack cocaine, Section 2D1.1

 of the United States Sentencing Guidelines, this matter will be considered for re-calculation of

 sentence pursuant to 18 U.S.C. § 3582(c)(2). All cases falling under 18 U.S.C. § 3582(c)(2) will

 be considered in order of the current release date of each defendant, with the cases of those

 defendants who are closest to their release dates considered first.

        IT IS ORDERED that the Office of the Public Defender is appointed to represent all

 defendants who are potentially affected by the revisions to the Sentencing Guidelines on crack

 cocaine. If a defendant retains private counsel, that counsel should enroll immediately and will

 be subject to the provisions of this Order.

        Having reviewed the Probation Office’s re-calculation of the applicable Guideline range

 of imprisonment and the record in this matter, including the Pre-Sentence Report, the Court finds

 that Defendant Eugene J. Thurman, Jr. is subject to a mandatory statutory minimum sentence of

 120 months imprisonment. Defendant was previously sentenced to 120 months imprisonment.

 Accordingly, the Court cannot reduce Defendant’s sentence further.

        IT IS FURTHER ORDERED that the United States Attorney’s Office and the attorney
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 representing the defendant shall file within 60 days of their receipt of this Order a notice stating

 (1) whether a hearing is requested or waived and (2) whether there are any objections to the re-

 calculation and/or to the Court’s proposed term of imprisonment.

        It is the intent of the Court to address every defendant potentially affected by these

 Guideline revisions and to do so in as prompt a manner as possible.

        MONROE, LOUISIANA, this 4th day of April, 2008.
